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                                                                13   Governor of the State of Arizona
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                                   L.L.P.




                                                                                               UNITED STATES DISTRICT COURT
                                                                15
                                                                                                    DISTRICT OF ARIZONA
                                                                16
                                                                17
                                                                     Tyler Bowyer, et al.,
                                                                18                                                 No. 2:20-cv-02321-DJH
                                                                                      Plaintiffs,
                                                                19                                                 Defendant Governor Ducey’s
                                                                            v.                                     Combined: (a) Motion to Dismiss and
                                                                20                                                 (b) Response to Plaintiffs’ Motion for
                                                                     Doug Ducey, et al.,                           TRO and Preliminary Injunction
                                                                21
                                                                                      Defendants,
                                                                22                                                 Assigned to: Hon. Diane Humetewa
                                                                            and
                                                                23                                                 Hearing set: December 8, 2020 at 9:15
                                                                     Maricopa County Board of Supervisors, et                  a.m.
                                                                24   al.,
                                                                25                    Intervenor-Defendants
                                                                26
                                                                27
                                                                28
                                                                 1                                           Introduction
                                                                 2          Arizona has strong election laws that prioritize accountability and that clearly lay out
                                                                 3   procedures for conducting, canvassing, and even contesting the results of an election. It is
                                                                 4   managed by dedicated and professional election administrators, with support from
                                                                 5   thousands of volunteer poll workers and poll observers that represent opposing political
                                                                 6   parties, as mandated by law. See, e.g., A.R.S. §§ 16-531 (appointment of election board);
                                                                 7   16-590(C) (appointment of poll observers); 16-615(B) (transporting the official returns
                                                                 8   envelop); see also Elections Procedure Manual, Ariz. Secy. of State, at 86, 96, 105, 133,
                                                                 9   157, 178, 184, 197, 203 (2019). 1 Arizona also has clear deadlines that the Governor’s
                                                                10   Office, in conjunction with the majority of the county recorders (from both parties), argued
                                                                11   to the Ninth Circuit needed to be maintained this year, despite COVID-19, in order to ensure
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                                                                12   the sanctity and security of the election process. See Mi Familia Vota v. Hobbs, 977 F.3d
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                                                                13   948 (9th Cir. 2020).
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                                                                14          With this backdrop, Plaintiffs have brought suit alleging widespread fraud in
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                                                                15   Arizona’s election. In their Complaint, Plaintiffs fail in any way to link Governor Ducey’s
                                                                16   ministerial duties in the elections process to their voter-fraud theories. The only allegations
                                                                17   in the Complaint that even mention Governor Ducey are completely unrelated to Plaintiffs’
                                                                18   theories and legal claims. (See Doc. 1 at ¶¶ 33-35, 145). Furthermore, Plaintiffs’ requests
                                                                19   for relief from the Governor are moot because Governor Ducey has already performed his
                                                                20   non-discretionary, ministerial acts in connection with this election: observing the final state-
                                                                21   wide canvass and transmitting a “certificate of ascertainment” to the National Archivist.
                                                                22          Accordingly, Governor Ducey moves for dismissal of all claims against him with
                                                                23   prejudice under Fed. R. Civ. P. 12(b)(1) and 12(b)(6). Dismissal is appropriate for several
                                                                24   reasons, including that: (1) the relief Plaintiffs seek against the Governor is moot; (2) the
                                                                25   Eleventh Amendment bars Plaintiffs’ claims against the Governor; (3) Plaintiffs have failed
                                                                26
                                                                27   1
                                                                      The Secretary of State’s Election Procedures Manual has the force of law pursuant to
                                                                     A.R.S. § 16-452 and is available at https://azsos.gov/sites/default/files/
                                                                28   2019_ELECTIONS_PROCEDURES_MANUAL_APPROVED.pdf.

                                                                                                                 -1-
                                                                 1   to allege any facts to support a plausible claim that Governor Ducey violated their
                                                                 2   constitutional rights or any other law; and (4) Plaintiffs lack Article III standing to sue the
                                                                 3   Governor. For similar reasons, this Court should also deny Plaintiffs’ request for a TRO or
                                                                 4   preliminary injunction as to Defendant Governor Ducey. (See Doc. 28). Plaintiffs will not
                                                                 5   be harmed by the dismissal of Governor Ducey because the Maricopa County Board of
                                                                 6   Supervisors—the party that has responsibility related to the conduct of elections,
                                                                 7   certification of election results and that retains custody of the equipment in question—has
                                                                 8   intervened in this case. In accordance with L.R. Civ. P 12.1(c), a Notice and Certification
                                                                 9   of Conferral has been filed contemporaneously with this Motion.
                                                                10                                            Background
                                                                11          The U.S. Constitution provides that “[e]ach State shall appoint, in such Manner as
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                                                                12   the Legislature thereof may direct, a Number of Electors” for the Office of the President.
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                                                                13   U.S. Const. Art. II § 1. The Arizona Legislature has established such procedures. See A.R.S.
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                                                                14   § 16-212. In addition, the Legislature has established a comprehensive election system,
                                   L.L.P.




                                                                15   based on checks and balances, that is largely organized and conducted by the Secretary of
                                                                16   State, independent county boards of supervisors, and other local election officials. E.g.,
                                                                17   A.R.S. §§ 16-442(A) (requiring the Secretary of State to approve the “types, make, model,
                                                                18   or models” of vote tabulating equipment); 16-411(B) (requiring Board of Supervisors to
                                                                19   establish polling locations); 16-531(A) (requiring Board of Supervisors to appoint requisite
                                                                20   poll workers twenty days before a primary or general election).
                                                                21          After an election for a president, or any other federal, statewide, or legislative office,
                                                                22   the county board of supervisors canvass their results and report those results to the Secretary
                                                                23   of State. A.R.S §§ 16-642(A); 16-645(B). The Secretary of State must then canvass those
                                                                24   county results “[o]n the fourth Monday following” the general election. A.R.S. § 16-648(A).
                                                                25   After the completion of the statewide canvass, the Secretary of State issues a “Certification
                                                                26   of Election” to each legislative, statewide, and federal candidate who received the highest
                                                                27   number of votes for each office. A.R.S. § 16-650. Furthermore, “after the secretary of state
                                                                28   issues the statewide canvass containing the results of a presidential election, the presidential

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                                                                 1   electors of this state shall cast their electoral college votes for the candidate for
                                                                 2   present…[who] received the highest number of votes in this state…” A.R.S. § 16-212(B).
                                                                 3          By statute, the Governor performs two non-discretionary, ministerial tasks in this
                                                                 4   process. First, he (along with the Attorney General and the Chief Justice of the Arizona
                                                                 5   Supreme Court) is required by state law to be “in the presence of” the Secretary of State
                                                                 6   when she conducts the official statewide canvass. A.R.S. § 16-648. Second, he is required
                                                                 7   by federal law to send a Certificate of Ascertainment (“Certificate”) that identifies the
                                                                 8   names of Arizona’s electoral college electors to the Archivist of the United States. 3 U.S.C.
                                                                 9   § 6. 2 These statutes do not confer discretion to the Governor.
                                                                10          On November 30, 2020, the Secretary of State conducted the statewide canvass and
                                                                11   certified the election in the presence of Governor Ducey. (Ex. A (excerpts from the
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                                                                12   statewide canvass)). That same day, Governor Ducey transmitted the Certificate to the
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                                                                13   National Archivist. (Ex. B (copy of the Certificate of Ascertainment)). 3
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                                                                14                                              Argument
                                   L.L.P.




                                                                15          This Court may grant a motion to dismiss under Rule 12(b) where a complaint does
                                                                16   not demonstrate that the plaintiff is entitled to relief against a particular defendant. To
                                                                17   survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual
                                                                18   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
                                                                19   Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570
                                                                20   (2007)). Those “[f]actual allegations must be enough to raise a right to relief above the
                                                                21   speculative level.” Twombly, 550 U.S. at 555.
                                                                22
                                                                23   2
                                                                       In addition, for initiated and referred ballot measures (which are not at issue in this case),
                                                                24   the Governor must issue a proclamation “declaring the amendments or measures which are
                                                                     approved by a majority of those voting thereon to be law.” A.R.S. § 16-651.
                                                                25   3
                                                                       Governor Ducey’s attendance of the statewide canvass and his issuance of the Certificate
                                                                     are all facts appropriate for judicial notice because they “can be accurately and readily
                                                                26   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
                                                                     201(b); see also Santa Monica Food Not Bombs v. Santa Monica, 450 F.3d 1022, 1025 n.2
                                                                27   (9th Cir. 2006) (taking judicial notice of public records that “can be accessed at Santa
                                                                     Monica’s official website”). Courts may consider judicially noticeable facts in ruling on
                                                                28   motions to dismiss. Lee v. City of L.A., 250 F.3d 668, 688-89 (9th Cir. 2001).

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                                                                 1            Additionally, a preliminary injunction 4 “is an extraordinary and drastic remedy, one
                                                                 2   that should not be granted unless the movant, by a clear showing, carries the burden of
                                                                 3   persuasion.” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quotation omitted). A
                                                                 4   court may only grant a plaintiff this “extraordinary remedy” if it establishes, as to the
                                                                 5   particular defendant: (1) it is “likely to succeed on the merits” of its claims; (2) it is “likely
                                                                 6   to suffer irreparable harm in the absence of preliminary relief”; (3) “the balance of the
                                                                 7   equities tips in [its] favor”; and (4) “an injunction is in the public interest.” Winter v. Nat.
                                                                 8   Res. Def. Council, Inc., 555 U.S. 7, 20, 24 (2008).
                                                                 9            Here, Plaintiffs’ claims against Governor Ducey cannot survive the Rule 12(b)(1) or
                                                                10   12(b)(6) standard, let alone satisfy all four Winter factors. Even if the factual allegations in
                                                                11   the Complaint are accepted as true, their claims against Governor Ducey fail as a matter of
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                                                                12   law due to: (1) mootness; (2) Eleventh Amendment immunity; (3) an inability to state any
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                                                                13   plausible claim against Governor Ducey because their Complaint identifies no acts
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                                                                14   performed by the Governor other than the two ministerial acts described above; and (4) a
                                   L.L.P.




                                                                15   lack of Article III standing. For these same reasons, Plaintiffs are highly unlikely to succeed
                                                                16   on the merits against Governor Ducey, and the Court should deny Plaintiffs’ requested
                                                                17   preliminary relief as to him.
                                                                18       I.   Plaintiffs’ Claims Against Governor Ducey Are Moot.
                                                                19            Plaintiffs’ claims against Governor Ducey are moot because the action they seek to
                                                                20   enjoin has already occurred and cannot be undone. A case must be dismissed as moot
                                                                21   against a particular defendant when “the issues presented are no longer ‘live.’” L.A. Cty. v.
                                                                22   Davis, 440 U.S. 625, 631 (1979) (quoting Powell v. McCormack, 395 U.S. 486, 496 (1969)).
                                                                23   In the context of election matters, courts have consistently held that a case is moot when
                                                                24   the challenged procedure has already been performed. For example, in Jones v. Montague,
                                                                25   the plaintiffs sued the Virginia governor and the Secretary of the Commonwealth,
                                                                26
                                                                27   4
                                                                       The standard for issuing a TRO is the same as the standard for issuing a preliminary
                                                                     injunction. See New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1347
                                                                28   n.2 (1977).

                                                                                                                  -4-
                                                                 1   requesting an injunction of an election canvass. 194 U.S. 147, 153 (1904). The Court
                                                                 2   rejected their challenge, holding that the case was moot because “the thing sought to be
                                                                 3   prohibited has been done…” Id.
                                                                 4             Here, after Governor Ducey attended the Secretary of State’s statewide canvass and
                                                                 5   issued the Certificate to the National Archivist (both of which occurred on November 30),
                                                                 6   his ministerial duties related to the General Election concluded. 5 Plaintiffs unfortunately
                                                                 7   filed this lawsuit on December 2, 2020—two days after Governor Ducey observed the
                                                                 8   canvass and issued the Certificate—and asked this Court to order Governor Ducey to “de-
                                                                 9   certify” the election results and enjoin him “from transmitting the currently certified
                                                                10   election results to the Electoral College.” (Doc. 1 at ¶ 145). Governor Ducey does not have
                                                                11   the authority to do either of these things, and Plaintiffs cite no authority otherwise. Because
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                                                                12   Governor Ducey’s statutory duties related to the General Election have already been
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                                                                13   performed, Plaintiffs’ claims against the Governor must be dismissed as moot. See
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                                                                14   Montague, 194 U.S. at 153.
                                   L.L.P.




                                                                15       II.   Plaintiffs’ Claims Against Governor Ducey Are Barred by the Eleventh
                                                                               Amendment.
                                                                16
                                                                               The Eleventh Amendment prevents a state from being sued in federal court without
                                                                17
                                                                     its consent. Alabama v. Pugh, 438 U.S. 781, 782 (1978). This bar applies “regardless of
                                                                18
                                                                     whether [the suit] seeks damages or injunctive relief.” Pennhurst State Sch. & Hosp. v.
                                                                19
                                                                     Halderman, 465 U.S. 89, 102 (1984). The Eleventh Amendment’s protections are at their
                                                                20
                                                                     apex where, as here, a plaintiff asks a federal court to “order state actors to comply with
                                                                21
                                                                     state law.” Hale v. Arizona, 967 F.2d 1356, 1369 (9th Cir. 1992); see also Pennhurst, 465
                                                                22
                                                                     U.S. at 106 (noting that “[i]t is difficult to think of a greater intrusion on state sovereignty
                                                                23
                                                                     than when a federal court instructs state officials on how to conform their conduct to state
                                                                24
                                                                     law”).
                                                                25
                                                                26
                                                                27   5
                                                                       The National Archivist has already received and publicly posted the Certificate. 2020
                                                                     Electoral College Results, National Archives, https://www.archives.gov/electoral-
                                                                28   college/2020 (last visited Dec. 4, 2020).

                                                                                                                 -5-
                                                                 1            To avoid the Eleventh Amendment, Plaintiffs here sued the Governor in his official
                                                                 2   capacity, in an attempt to take advantage of the Ex Parte Young exception to the State’s
                                                                 3   sovereign immunity. (Doc. 1). But, in order to use this exception, the state officer “must
                                                                 4   have some connection with the enforcement of the act.” Ex Parte Young, 209 U.S. 123, 157
                                                                 5   (1908); see also Pennhurst, 465 U.S. at 101 (noting that the Eleventh Amendment also “bars
                                                                 6   a suit against state officials when ‘the state is the real, substantial party in interest.’”)
                                                                 7   (quoting Ford Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464 (1945)). Here, the
                                                                 8   Governor has no connection to the factual allegations in the Complaint, much less a
                                                                 9   connection strong enough to invoke the Ex Parte Young exception.
                                                                10            Indeed, while the Complaint makes various allegations about the General Election—
                                                                11   including that the vote tabulation machines used in Arizona are susceptible to manipulation
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                                                                12   or are otherwise deficient, (Doc. 1 at ¶¶ 5-18, 67-102), that there were certain procedural
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                                                                13   errors related to poll watching and vote counting, (id. at ¶¶ 48-62), and that there were
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                                                                14   irregular voter turnout levels, (id. at ¶¶ 63-66)—the Complaint does not contain any
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                                                                15   allegation that the Governor had any involvement in these alleged improprieties or had any
                                                                16   authority to oversee, correct, or prevent these issues. Instead, the Complaint only alleges
                                                                17   wrongdoing or errors by local county elections officials, poll workers, or the Secretary of
                                                                18   State.
                                                                19            Put simply, the Governor’s ministerial duties under A.R.S. § 16-648(A) and 3 U.S.C.
                                                                20   § 6 do not encompass investigating or rectifying assertions of election irregularities or fraud.
                                                                21   And, even if the Governor did have some generalized role in overseeing Arizona elections
                                                                22   (he does not), mere “[a]llegations of general oversight of State laws are insufficient to
                                                                23   establish the required nexus” under Ex Parte Young. Young v. Hawaii, 548 F. Supp. 2d
                                                                24   1151, 1164 (D. Haw. 2008), overruled on other grounds by Dist. of Columbia v. Heller, 554
                                                                25   U.S. 570 (2008); see also A.R.S. § 16-142(A)(1) (“The secretary of state or the secretary’s
                                                                26   designee is [t]he chief state election officer . . .”). As such, Plaintiffs’ claims against the
                                                                27   Governor must be dismissed.
                                                                28

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                                                                 1   III.   Plaintiffs Fail to Plead any Plausible Claim for Relief Against Governor Ducey
                                                                 2          under the Iqbal/Twombly Pleading Standard.

                                                                 3
                                                                            The claims against Governor Ducey should also be dismissed because Plaintiffs’
                                                                 4
                                                                     Complaint is devoid of any “factual content that allows the court to draw the reasonable
                                                                 5
                                                                     inference that the defendant” at issue—Governor Ducey—“is liable for the misconduct
                                                                 6
                                                                     alleged.” Iqbal, 556 U.S. at 678; see also Twombly, 550 U.S. at 556, 570. Indeed, the
                                                                 7
                                                                     Complaint does not contain any specific factual allegations against the Governor. The only
                                                                 8
                                                                     allegations in the Complaint that specifically reference Governor Ducey are Paragraphs 34
                                                                 9
                                                                     and 35, which simply identify him as a Defendant to this action, and Paragraph 145, which
                                                                10
                                                                     asks this Court to direct an order requiring the Governor to “de-certify” the election (there
                                                                11
                                                                     is no provision in Arizona law that allows this or federal authority that supports this remedy)
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                                                                12
                                                                     and an injunction prohibiting him from “transmitting the currently certified election results
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                                                                13
                                                                     to the electoral college” (the results have already been “transmit[ed]” to the electoral
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                                                                14
                                                                     college).
                                   L.L.P.




                                                                15
                                                                            Given this, the Complaint has failed to make any allegation that would support a
                                                                16
                                                                     reasonable inference that the Governor violated Arizona law, deprived Plaintiffs of their
                                                                17
                                                                     equal protection or due process rights, or violated some other constitutional provision.
                                                                18
                                                                     Because the Complaint fails to state any claim against Governor Ducey that is “plausible
                                                                19
                                                                     on its face,” all claims against the Governor should be dismissed. Iqbal, 556 U.S. at 678
                                                                20
                                                                     (citing Twombly, 550 U.S. at 570).
                                                                21
                                                                     IV.    Plaintiffs Lack Standing to Bring Their Claims Against Governor Ducey.
                                                                22
                                                                            Finally, Plaintiffs cannot establish two of the three elements of Article III standing
                                                                23
                                                                     for purposes of their claims against Governor Ducey. To establish standing, Plaintiffs must
                                                                24
                                                                     demonstrate (1) injury in fact; (2) that is “fairly traceable” to the conduct complained of;
                                                                25
                                                                     and (3) that a favorable decision is “likely” to redress the injury-in-fact. Barnum Timber
                                                                26
                                                                     Co. v. U.S. E.P.A., 633 F.3d 894, 897 (9th Cir. 2011); see also Maya, 658 F.3d at 1067
                                                                27
                                                                     (motion to dismiss for lack of standing proper under Fed. R. Civ. P. 12(b)(1)). An injury is
                                                                28

                                                                                                                 -7-
                                                                 1   not fairly traceable to a defendant’s conduct when that defendant did not cause the
                                                                 2   plaintiff’s injury. See Donald J. Trump for President, Inc. v. Boockvar, No. 4:20-CV-02078,
                                                                 3   2020 WL 6821992, at *6-7 (M.D. Penn. Nov. 21, 2020).
                                                                 4          Here, even assuming arguendo that Plaintiffs have met the injury-in-fact
                                                                 5   requirement, they cannot establish that their injury is traceable to Governor Ducey or
                                                                 6   redressable by any action he could take. With respect to traceability, Plaintiffs do not (and
                                                                 7   cannot) claim that Governor Ducey played any part in the alleged election fraud that forms
                                                                 8   the basis of their Complaint. Indeed, Plaintiffs barely mention Governor Ducey’s actions at
                                                                 9   all, claiming only (and erroneously) that he and the Secretary of State “certified” the results
                                                                10   of the General Election. (See Doc. 1 at ¶ 33). As discussed above, election certification is
                                                                11   not one of Governor Ducey’s statutory duties. For all these reasons, Plaintiffs cannot
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                                                                12   establish that their injury is “fairly traceable” to Governor Ducey. See Barnum, 633 F.3d at
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                                                                13   897; Boockvar, 2020 WL 6821992, at *6.
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                                                                14          Plaintiffs also cannot establish that their alleged injury is redressable by Governor
                                   L.L.P.




                                                                15   Ducey. Plaintiffs ask this Court to order Governor Ducey to “de-certify” the election results
                                                                16   and enjoin him “from transmitting the currently certified election results to the Electoral
                                                                17   College.” (Doc. 1 at ¶ 145). Governor Ducey has already fulfilled his statutory duties related
                                                                18   to the General Election by attending the canvass, see A.R.S. § 16-648(A), and issuing the
                                                                19   Certificate to the Archivist of the United States, see 3 U.S.C. § 6. Governor Ducey does not
                                                                20   have the power to certify (or de-certify) election results. Tellingly, Plaintiffs do not cite any
                                                                21   authority explaining how (or under what authority) Governor Ducey would do take such
                                                                22   action. Accordingly, Plaintiffs’ claims should be dismissed because they lack Article III
                                                                23   standing as to Governor Ducey. 6
                                                                24
                                                                25
                                                                26   6
                                                                       For the other Winter factors that balance the impact of the relief requested against the
                                                                     merits of the claims, Governor Ducey defers to Defendant Secretary Hobbs and Intervenor-
                                                                27   Defendant Maricopa County Board of Supervisors, since the administration of the general
                                                                     election at the State and local levels are within those parties’ purview.
                                                                28

                                                                                                                  -8-
                                                                 1                                          Conclusion
                                                                 2         Governor Ducey should be dismissed because the claims against him are moot,
                                                                 3   barred by the Eleventh Amendment, unsupported by factual allegations, and Plaintiffs lack
                                                                 4   standing to even bring them against the Governor. These defects are fatal and incurable as
                                                                 5   to Governor Ducey. Accordingly, Plaintiffs’ claims against Governor Ducey should be
                                                                 6   dismissed with prejudice under Rules 12(b)(1) and 12(b)(6), and their Motion for
                                                                 7   Temporary Restraining Order and Preliminary Relief should be denied, as to Governor
                                                                 8   Ducey.
                                                                 9
                                                                           DATED this 4th day of December, 2020.
                                                                10
                                                                                                                       SNELL & WILMER L.L.P.
                                                                11
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                                                                12                                                  By: /s/ Brett W. Johnson
                                                                                                                       Brett W. Johnson
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                                                                16
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                                                                18                                                     1700 West Washington Street
                                                                                                                       Phoenix, Arizona 85007
                                                                19
                                                                20                                                      Attorneys for Defendant Douglas A.
                                                                                                                        Ducey, Governor of the State of
                                                                21                                                      Arizona

                                                                22
                                                                23
                                                                24
                                                                25
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                                                                                                              -9-
                                                                 1                                   CERTIFICATE OF SERVICE
                                                                 2          I certify that on December 4, 2020, I electronically transmitted the attached
                                                                 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
                                                                 4   Notice of Electronic Filing to the ECF registrants.
                                                                 5
                                                                 6
                                                                 7   s/ Richard Schaan
                                                                 8
                                                                 9
                                                                10
                                                                11
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